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 4
                                UNITED STATES DISTRICT COURT
 5                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6
     UNITED STATES OF AMERICA,                         )
 7                                                     )
                              Plaintiff,               )    Case No. CR08-244 RSL
 8                                                     )
           v.                                          )
 9                                                     )    DETENTION ORDER
     LUCRETIA JAMES,                                   )
10                                                     )
                              Defendant.               )
11                                                     )

12   Offenses charged:

13         Conspiracy to distribute controlled substances; conspiracy to possess with the intent to

14    distribute controlled substances; and importation of MDMA.

15    Date of Detention Hearing: August 18, 2008.

16         The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17    based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18    that no condition or combination of conditions which the defendant can meet will reasonably

19    assure the appearance of the defendant as required and the safety of any other person and the

20    community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22         (1)     Defendant has been charged by indictment conspiracy to distribute controlled

23    substances; conspiracy to possess with the intent to distribute controlled substances; and

      importation of MDMA.

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 1         (2)     Defendant was arrested in California and was transported by the U.S. Marshal to this

 2    district after waiving an identity hearing. Defendant has an active warrant for her arrest for illegal

 3    importation of weapons. Based on these circumstances, the defendant, through her attorney,

 4    stipulated to detention. The stipulation was entered with the proviso that defendant may request

 5    another detention hearing if new information is developed.

 6         It is therefore ORDERED:

 7         (1)     Defendant shall be detained pending trial and committed to the custody of the

 8    Attorney General for confinement in a correctional facility separate, to the extent practicable,

 9    from persons awaiting or serving sentences, or being held in custody pending appeal;

10         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

11    counsel;

12         (3)     On order of a court of the United States or on request of an attorney for the

13    Government, the person in charge of the correctional facility in which Defendant is confined shall

14    deliver the defendant to a United States Marshal for the purpose of an appearance in connection

15    with a court proceeding; and

16         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

17    for the defendant, to the United States Marshal, and to the United States Pretrial Services Officer.

18         DATED this 18th day of August, 2008.

19                                                        s/ BRIAN A. TSUCHIDA
                                                          BRIAN A. TSUCHIDA
20                                                        United States Magistrate Judge

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     DETENTION ORDER -2
